        Case 16-42146-rfn7 Doc 7 Filed 06/08/16                              Entered 06/08/16 14:00:08                   Page 1 of 17


 Fill in this information to identify the case
 Debtor name        Superior Lubricants Transport Inc

 United States Bankruptcy Court for the: NORTHERN DISTRICT OF TEXAS

 Case number        16-42146-rfn7                                                                                  Check if this is an
 (if known)
                                                                                                                   amended filing

Official Form 206A/B
Schedule A/B: Assets -- Real and Personal Property                                                                                             12/15

Disclose all property, real and personal, which the debtor owns or in which the debtor has any other legal, equitable, or future
interest. Include all property in which the debtor holds rights and powers exercisable for the debtor's own benefit. Also
include assets and properties which have no book value, such as fully depreciated assets or assets that were not capitalized.
In Schedule A/B, list any executory contracts or unexpired leases. Also list them on Schedule G: Executory Contracts and
Unexpired Leases (Official Form 206G).

Be as complete and accurate as possible. If more space is needed, attach a separate sheet to this form. At the top of any
pages added, write the debtor's name and case number (if known). Also identify the form and line number to which the
additional information applies. If an additional sheet is attached, include the amounts from the attachment in the total for the
pertinent part.

For Part 1 through Part 11, list each asset under the appropriate category or attach separate supporting schedules, such as a
fixed asset schedule or depreciation schedule, that gives the details for each asset in a particular category. List each asset
only once. In valuing the debtor's interest, do not deduct the value of secured claims. See the instructions to understand the
terms used in this form.



 Part 1:       Cash and cash equivalents

1.   Does the debtor have any cash or cash equivalents?
          No. Go to Part 2.
          Yes. Fill in the information below.


     All cash or cash equivalents owned or controlled by the debtor                                                        Current value of
                                                                                                                           debtor's interest

2.   Cash on hand

3.   Checking, savings, money market, or financial brokerage accounts (Identify all)

     Name of institution (bank or brokerage firm)                   Type of account                   Last 4 digits of
                                                                                                      account number
4.   Other cash equivalents       (Identify all)

     Name of institution (bank or brokerage firm)

5.   Total of Part 1
                                                                                                                                           $0.00
     Add lines 2 through 4 (including amounts on any additional sheets). Copy the total to line 80.

 Part 2: Deposits and prepayments

6.   Does the debtor have any deposits or prepayments?

         No. Go to Part 3.
         Yes. Fill in the information below.




Official Form 206A/B                               Schedule A/B: Assets -- Real and Personal Property                                          page 1
         Case 16-42146-rfn7 Doc 7 Filed 06/08/16                             Entered 06/08/16 14:00:08                    Page 2 of 17

Debtor       Superior Lubricants Transport Inc                                            Case number (if known)      16-42146-rfn7
             Name

                                                                                                                                Current value of
                                                                                                                                debtor's interest
7.   Deposits, including security deposits and utility deposits

     Description, including name of holder of deposit

8.   Prepayments, including prepayments on executory contracts, leases, insurance, taxes, and rent

     Description, including name of holder of prepayment

9.   Total of Part 2.
                                                                                                                                                $0.00
     Add lines 7 through 8. Copy the total to line 81.

 Part 3: Accounts receivable

10. Does the debtor have any accounts receivable?

         No. Go to Part 4.
         Yes. Fill in the information below.
                                                                                                                                Current value of
                                                                                                                                debtor's interest
11. Accounts receivable

11a. 90 days old or less:              $0.00               –                 $0.00                  = .......................                   $0.00
                            face amount                        doubtful or uncollectible accounts

11b. Over 90 days old:              $90,000.00             –              $90,000.00                = .......................                   $0.00
                            face amount                        doubtful or uncollectible accounts

12. Total of Part 3
                                                                                                                                                $0.00
    Current value on lines 11a + 11b = line 12. Copy the total to line 82.

 Part 4: Investments

13. Does the debtor own any investments?

         No. Go to Part 5.
         Yes. Fill in the information below.
                                                                                           Valuation method                     Current value of
                                                                                           used for current value               debtor's interest
14. Mutual funds or publicly traded stocks not included in Part 1

         Name of fund or stock:
15. Non-publicly traded stock and interests in incorporated and unincorporated
    businesses, including any interest in an LLC, partnership, or joint venture

      Name of entity:                                          % of ownership:
16. Government bonds, corporate bonds, and other negotiable and
    non-negotiable instruments not included in Part 1

       Describe:
17. Total of Part 4
    Add lines 14 through 16. Copy the total to line 83.
                                                                                                                                                $0.00


 Part 5: Inventory, excluding agriculture assets

18. Does the debtor own any inventory (excluding agriculture assets)?

         No. Go to Part 6.
         Yes. Fill in the information below.




Official Form 206A/B                           Schedule A/B: Assets -- Real and Personal Property                                                   page 2
         Case 16-42146-rfn7 Doc 7 Filed 06/08/16                           Entered 06/08/16 14:00:08                Page 3 of 17

Debtor       Superior Lubricants Transport Inc                                         Case number (if known)    16-42146-rfn7
             Name

     General description                         Date of the       Net book value of    Valuation method              Current value of
                                                 last physical     debtor's interest    used for current value        debtor's interest
                                                 inventory         (Where available)
19. Raw materials                                MM/DD/YYYY

20. Work in progress

21. Finished goods, including goods held for resale

22. Other inventory or supplies

23. Total of Part 5
                                                                                                                                      $0.00
    Add lines 19 through 22. Copy the total to line 84.

24. Is any of the property listed in Part 5 perishable?
        No
        Yes

25. Has any of the property listed in Part 5 been purchased within 20 days before the bankruptcy was filed?
       No
       Yes. Book value                            Valuation method                                   Current value

26. Has any of the property listed in Part 5 been appraised by a professional within the last year?
       No
       Yes

 Part 6: Farming and fishing-related assets (other than titled motor vehicles and land)

27. Does the debtor own or lease any farming or fishing-related assets (other than titled motor vehicles and land)?

         No. Go to Part 7.
         Yes. Fill in the information below.

     General description                                           Net book value of    Valuation method              Current value of
                                                                   debtor's interest    used for current value        debtor's interest
                                                                   (Where available)
28. Crops--either planted or harvested

29. Farm animals Examples: Livestock, poultry, farm-raised fish

30. Farm machinery and equipment (Other than titled motor vehicles)

31. Farm and fishing supplies, chemicals, and feed

32. Other farming and fishing-related property not already listed in Part 6

33. Total of Part 6.
                                                                                                                                      $0.00
    Add lines 28 through 32. Copy the total to line 85.

34. Is the debtor a member of an agricultural cooperative?
         No
         Yes. Is any of the debtor's property stored at the cooperative?
                   No
                   Yes

35. Has any of the property listed in Part 6 been purchased within 20 days before the bankruptcy was filed?
       No
       Yes. Book value                            Valuation method                                   Current value

36. Is a depreciation schedule available for any of the property listed in Part 6?
         No
         Yes

37. Has any of the property listed in Part 6 been appraised by a professional within the last year?
       No
       Yes


Official Form 206A/B                           Schedule A/B: Assets -- Real and Personal Property                                         page 3
         Case 16-42146-rfn7 Doc 7 Filed 06/08/16                             Entered 06/08/16 14:00:08               Page 4 of 17

Debtor       Superior Lubricants Transport Inc                                          Case number (if known)    16-42146-rfn7
             Name


 Part 7: Office furniture, fixtures, and equipment; and collectibles

38. Does the debtor own or lease any office furniture, fixtures, equipment, or collectibles?

         No. Go to Part 8.
         Yes. Fill in the information below.

     General description                                            Net book value of    Valuation method              Current value of
                                                                    debtor's interest    used for current value        debtor's interest
                                                                    (Where available)
39. Office furniture

40. Office fixtures

41. Office equipment, including all computer equipment and
    communication systems equipment and software

42. Collectibles Examples: Antiques and figurines; paintings, prints, or other
    artwork; books, pictures, or other art objects; china and crystal; stamp, coin,
    or baseball card collections; other collections, memorabilia, or collectibles

43. Total of Part 7.
                                                                                                                                       $0.00
    Add lines 39 through 42. Copy the total to line 86.

44. Is a depreciation schedule available for any of the property listed in Part 7?
         No
         Yes

45. Has any of the property listed in Part 7 been appraised by a professional within the last year?
       No
       Yes

 Part 8: Machinery, equipment, and vehicles

46. Does the debtor own or lease any machinery, equipment, or vehicles?

         No. Go to Part 9.
         Yes. Fill in the information below.

     General description                                            Net book value of    Valuation method              Current value of
     Include year, make, model, and identification numbers          debtor's interest    used for current value        debtor's interest
     (i.e., VIN, HIN, or N-number)                                  (Where available)

47. Automobiles, vans, trucks, motorcycles, trailers, and titled farm vehicles
48. Watercraft, trailers, motors, and related accessories Examples: Boats
    trailers, motors, floating homes, personal watercraft, and fishing vessels

48.1. 6 Gasoline Trailers
      1999 Young 1Y9T5AV25Y2002995
      2000 Young 1YAT5AB25Y2002023
      2000 Young 1Y9T5AV28Y2002059
      2005 Young 1Y9T5AV2252002724
      2007 Young 1Y9T5AV2482002020
      2008 Young 1Y9T5AV2482002021

      All of these trailers are in possession of Shawn
      Bhagat DBA American Energy Transport, LLC
      2415 W. Northwest Hiway, #105, Dallas TX
      75220                                                                                                                    $260,000.00




Official Form 206A/B                           Schedule A/B: Assets -- Real and Personal Property                                          page 4
         Case 16-42146-rfn7 Doc 7 Filed 06/08/16                            Entered 06/08/16 14:00:08                     Page 5 of 17

Debtor       Superior Lubricants Transport Inc                                           Case number (if known)    16-42146-rfn7
             Name

49. Aircraft and accessories

50. Other machinery, fixtures, and equipment (excluding farm
    machinery and equipment)

51. Total of Part 8.
                                                                                                                                   $260,000.00
    Add lines 47 through 50. Copy the total to line 87.

52. Is a depreciation schedule available for any of the property listed in Part 8?
         No
         Yes

53. Has any of the property listed in Part 8 been appraised by a professional within the last year?
       No
       Yes

 Part 9: Real property

54. Does the debtor own or lease any real property?

         No. Go to Part 10.
         Yes. Fill in the information below.

55.    Any building, other improved real estate, or land which the debtor owns or in which the debtor has an interest
       Description and location of property          Nature and extent       Net book value of     Valuation method        Current value of
       Include street address or other description   of debtor's interest    debtor's interest     used for current        debtor's interest
       such as Assessor Parcel Number (APN),         in property             (Where available)     value
       and type of property (for example,
       acreage, factory, warehouse, apartment or
       office building), if available.

56. Total of Part 9.
                                                                                                                                           $0.00
    Add the current value on lines 55.1 through 55.6 and entries from any additional sheets. Copy the total to line 88.

57. Is a depreciation schedule available for any of the property listed in Part 9?
         No
         Yes

58. Has any of the property listed in Part 9 been appraised by a professional within the last year?
       No
       Yes

Part 10: Intangibles and Intellectual Property

59. Does the debtor have any interests in intangibles or intellectual property?

         No. Go to Part 11.
         Yes. Fill in the information below.

      General description                                          Net book value of      Valuation method                 Current value of
                                                                   debtor's interest      used for current value           debtor's interest
                                                                   (Where available)
60. Patents, copyrights, trademarks, and trade secrets

61. Internet domain names and websites

62. Licenses, franchises, and royalties

63. Customer lists, mailing lists, or other compilations




Official Form 206A/B                           Schedule A/B: Assets -- Real and Personal Property                                              page 5
         Case 16-42146-rfn7 Doc 7 Filed 06/08/16                           Entered 06/08/16 14:00:08                 Page 6 of 17

Debtor       Superior Lubricants Transport Inc                                           Case number (if known)   16-42146-rfn7
             Name

64. Other intangibles, or intellectual property

65. Goodwill

66. Total of Part 10.
                                                                                                                                       $0.00
    Add lines 60 through 65. Copy the total to line 89.

67. Do your lists or records include personally identifiable information of customers (as defined in 11 U.S.C. §§ 101(41A) and 107)?
       No
       Yes

68. Is there an amortization or other similar schedule available for any of the property listed in Part 10?
         No
         Yes

69. Has any of the property listed in Part 10 been appraised by a professional within the last year?
       No
       Yes

Part 11: All other assets

70. Does the debtor own any other assets that have not yet been reported on this form?
    Include all interests in executory contracts and unexpired leases not previously reported on this form.

         No. Go to Part 12.
         Yes. Fill in the information below.

                                                                                                                       Current value of
                                                                                                                       debtor's interest
71. Notes receivable

     Description (include name of obligor)

72. Tax refunds and unused net operating losses (NOLs)

     Description (for example, federal, state, local)

73. Interests in insurance policies or annuities

74. Causes of action against third parties (whether or not a lawsuit has been filed)

75. Other contingent and unliquidated claims or causes of action of every nature,
    including counterclaims of the debtor and rights to set off claims

76. Trusts, equitable or future interests in property

77. Other property of any kind not already listed Examples: Season tickets, country club membership

78. Total of Part 11.
    Add lines 71 through 77. Copy the total to line 90.
                                                                                                                                       $0.00

79. Has any of the property listed in Part 11 been appraised by a professional within the last year?
       No
       Yes




Official Form 206A/B                            Schedule A/B: Assets -- Real and Personal Property                                         page 6
           Case 16-42146-rfn7 Doc 7 Filed 06/08/16                                                 Entered 06/08/16 14:00:08                           Page 7 of 17

Debtor           Superior Lubricants Transport Inc                                                                   Case number (if known)         16-42146-rfn7
                 Name


 Part 12: Summary

In Part 12 copy all of the totals from the earlier parts of the form.

      Type of property                                                              Current value of                             Current value of
                                                                                    personal property                            real property


80. Cash, cash equivalents, and financial assets.                                                    $0.00
    Copy line 5, Part 1.

81. Deposits and prepayments. Copy line 9, Part 2.                                                   $0.00

82. Accounts receivable. Copy line 12, Part 3.                                                       $0.00

83. Investments. Copy line 17, Part 4.                                                               $0.00

84. Inventory. Copy line 23, Part 5.                                                                 $0.00

85. Farming and fishing-related assets.                                                              $0.00
    Copy line 33, Part 6.

86. Office furniture, fixtures, and equipment;                                                       $0.00
    and collectibles. Copy line 43, Part 7.

87. Machinery, equipment, and vehicles.                                                    $260,000.00
    Copy line 51, Part 8.

88. Real property. Copy line 56, Part 9.......................................................................................               $0.00

89. Intangibles and intellectual property.                                                           $0.00
    Copy line 66, Part 10.

90. All other assets. Copy line 78, Part 11.                                      +                  $0.00

91. Total. Add lines 80 through 90 for each column.                        91a.            $260,000.00           +     91b.                  $0.00


                                                                                                                                                                   $260,000.00
92. Total of all property on Schedule A/B. Lines 91a + 91b = 92.........................................................................................................




Official Form 206A/B                                        Schedule A/B: Assets -- Real and Personal Property                                                         page 7
          Case 16-42146-rfn7 Doc 7 Filed 06/08/16                              Entered 06/08/16 14:00:08                   Page 8 of 17


 Fill in this information to identify the case:
 Debtor name          Superior Lubricants Transport Inc

 United States Bankruptcy Court for the: NORTHERN DISTRICT OF TEXAS

 Case number          16-42146-rfn7                                                                                Check if this is an
 (if known)                                                                                                        amended filing

Official Form 206D
Schedule D: Creditors Who Have Claims Secured by Property                                                                                      12/15
Be as complete and accurate as possible.

1.     Do any creditors have claims secured by debtor's property?
       No. Check this box and submit page 1 of this form to the court with debtor's other schedules. Debtor has nothing else to report on this form.
       Yes. Fill in all of the information below.


 Part 1:         List Creditors Who Have Secured Claims
2.     List in alphabetical order all creditors who have secured claims. If a creditor has more            Column A               Column B
       than one secured claim, list the creditor separately for each claim.                                Amount of claim        Value of collateral
                                                                                                           Do not deduct the      that supports
                                                                                                           value of collateral.   this claim

 2.1      Creditor's name                                  Describe debtor's property that is
          Integra Funding Solutions                        subject to a lien                                    $220,000.00              $260,000.00

          Creditor's mailing address                       6 Gasoline Trailers
          6300 Ridglea Ste 1101                            Describe the lien
                                                           Loan
                                                           Is the creditor an insider or related party?
          Fort Worth                 TX   76116                 No
                                                                Yes
          Creditor's email address, if known
                                                           Is anyone else liable on this claim?
          Date debt was incurred                               No
                                                               Yes. Fill out Schedule H: Codebtors (Official Form 206H)
          Last 4 digits of account
          number                                           As of the petition filing date, the claim is:
          Do multiple creditors have an interest in        Check all that apply.
          the same property?                                   Contingent
              No                                               Unliquidated
              Yes. Specify each creditor, including this       Disputed
              creditor, and its relative priority.




3.     Total of the dollar amounts from Part 1, Column A, including the amounts from the
       Additional Page, if any.                                                                                 $880,000.00


Official Form 206D                        Schedule D: Creditors Who Have Claims Secured by Property                                            page 1
         Case 16-42146-rfn7 Doc 7 Filed 06/08/16                                 Entered 06/08/16 14:00:08                   Page 9 of 17

Debtor       Superior Lubricants Transport Inc                                               Case number (if known) 16-42146-rfn7

 Part 1:       Additional Page                                                                               Column A               Column B
                                                                                                             Amount of claim        Value of collateral
Copy this page only if more space is needed. Continue numbering the lines                                    Do not deduct the      that supports
sequentially from the previous page.                                                                         value of collateral.   this claim

 2.2     Creditor's name                                     Describe debtor's property that is
         Integra Funding Solutions                           subject to a lien                                            $0.00                  $0.00

         Creditor's mailing address                          industrial location and office
         6300 Ridglea Ste 1101                               Describe the lien
                                                             DISPUTED VALIDITY / Agreement
                                                             Is the creditor an insider or related party?
         Fort Worth                 TX    76116                   No
                                                                  Yes
         Creditor's email address, if known
                                                             Is anyone else liable on this claim?
         Date debt was incurred                                  No
                                                                 Yes. Fill out Schedule H: Codebtors (Official Form 206H)
         Last 4 digits of account
         number                                              As of the petition filing date, the claim is:
         Do multiple creditors have an interest in           Check all that apply.
         the same property?                                      Contingent
             No                                                  Unliquidated
             Yes. Have you already specified the                 Disputed
                  relative priority?
                No. Specify each creditor, including this
                creditor, and its relative priority.
                Yes. The relative priority of creditors is
                specified on lines

 2.3     Creditor's name                                     Describe debtor's property that is
         Jerri Gooden                                        subject to a lien                                    $660,000.00                    $0.00

         Creditor's mailing address                          undetermined interest in 3312
         8811 Royal Harbor                                   Dooling
                                                             Describe the lien
                                                             Money Loaned/property financed

         Fort Worth                 TX    76179              Is the creditor an insider or related party?
                                                                  No
         Creditor's email address, if known
                                                                  Yes

         Date debt was incurred                              Is anyone else liable on this claim?
                                                                 No
         Last 4 digits of account
         number                                                  Yes. Fill out Schedule H: Codebtors (Official Form 206H)

         Do multiple creditors have an interest in           As of the petition filing date, the claim is:
         the same property?                                  Check all that apply.
             No                                                  Contingent
             Yes. Have you already specified the                 Unliquidated
                  relative priority?                             Disputed
                No. Specify each creditor, including this
                creditor, and its relative priority.
                Yes. The relative priority of creditors is
                specified on lines

         Creditor paid for property which may be in the name of the debtor. Debtor believes that property was validly
         transferred to creditor for forgiveness of this debt and the debt that was paid to Wells Fargo on behalf of debtor
         listed as separate claim.




Official Form 206D             Additional Page of Schedule D: Creditors Who Have Claims Secured by Property                                      page 2
       Case 16-42146-rfn7 Doc 7 Filed 06/08/16                          Entered 06/08/16 14:00:08                  Page 10 of 17


 Fill in this information to identify the case:
 Debtor             Superior Lubricants Transport Inc

 United States Bankruptcy Court for the: NORTHERN DISTRICT OF TEXAS

 Case number        16-42146-rfn7                                                                            Check if this is an
 (if known)                                                                                                  amended filing

Official Form 206E/F
Schedule E/F: Creditors Who Have Unsecured Claims                                                                                      12/15

Be as complete and accurate as possible. Use Part 1 for creditors with PRIORITY unsecured claims and Part 2 for creditors with
NONPRIORITY unsecured claims. List the other party to any executory contracts or unexpired leases that could result in a claim.
Also list executory contracts on Schedule A/B: Assets - Real and Personal Property (Official Form 206A/B) and on Schedule G:
Executory Contracts and Unexpired Leases (Official Form 206G). Number the entries in Parts 1 and 2 in the boxes on the left.
If more space is needed for Part 1 or Part 2, fill out and attach the Additional Page of that Part included in this form.

 Part 1:       List All Creditors with PRIORITY Unsecured Claims
1.   Do any creditors have priority unsecured claims? (See 11 U.S.C. § 507).
          No. Go to Part 2.
          Yes. Go to line 2.

2.   List in alphabetical order all creditors who have unsecured claims that are entitled to priority in whole or part.
     If more space is needed for priority unsecured claims, fill out and attach the Additional Page of Part 1.

                                                                                                          Total claim         Priority amount




Official Form 206E/F                        Schedule E/F: Creditors Who Have Unsecured Claims                                           page 1
           Case 16-42146-rfn7 Doc 7 Filed 06/08/16                        Entered 06/08/16 14:00:08                   Page 11 of 17

Debtor         Superior Lubricants Transport Inc                                        Case number (if known)      16-42146-rfn7

 Part 2:        List All Creditors with NONPRIORITY Unsecured Claims

3.     List in alphabetical order all of the creditors with nonpriority unsecured claims. If more space is needed for nonpriority unsecured
       claims, fill out and attach the Additional Page of Part 2.
                                                                                                                        Amount of claim

     3.1    Nonpriority creditor's name and mailing address         As of the petition filing date, the claim is:                         $1.00
                                                                    Check all that apply.
American Energy Transport LLC                                           Contingent
2415 W Northwest Highway                                                Unliquidated
                                                                        Disputed
#105
                                                                    Basis for the claim:
Dallas                                    TX       75220            Contract dispute

Date or dates debt was incurred                                     Is the claim subject to offset?
                                                                         No
Last 4 digits of account number                                          Yes


     3.2    Nonpriority creditor's name and mailing address         As of the petition filing date, the claim is:                   $46,103.00
                                                                    Check all that apply.
Federated Mutual                                                        Contingent
5501 W. Ih 35                                                           Unliquidated
                                                                        Disputed

                                                                    Basis for the claim:
Fort Worth                                TX       76111            judgment

Date or dates debt was incurred                                     Is the claim subject to offset?
                                                                         No
Last 4 digits of account number                                          Yes


     3.3    Nonpriority creditor's name and mailing address         As of the petition filing date, the claim is:                         $0.00
                                                                    Check all that apply.
Haynes and Boone LLP                                                    Contingent
attn: William D. Ratliff, III                                           Unliquidated
                                                                        Disputed
301 Commerce Street, Suite 2600
                                                                    Basis for the claim:
Fort Worth                                TX       76102            Notice Only

Date or dates debt was incurred                                     Is the claim subject to offset?
                                                                         No
Last 4 digits of account number                                          Yes


     3.4    Nonpriority creditor's name and mailing address         As of the petition filing date, the claim is:               $2,100,000.00
                                                                    Check all that apply.
Jerri Gooden                                                            Contingent
8811 Royal Harbor                                                       Unliquidated
                                                                        Disputed

                                                                    Basis for the claim:
Fort Worth                                TX       76179            Money Loaned/property financed

Date or dates debt was incurred                                     Is the claim subject to offset?
                                                                         No
Last 4 digits of account number                                          Yes
money paid to Wells Fargo on behalf of debtor. Debtor intended to transfer title to 3312 Dooling for forgiveness of this debt.




Official Form 206E/F                           Schedule E/F: Creditors Who Have Unsecured Claims                                         page 2
         Case 16-42146-rfn7 Doc 7 Filed 06/08/16                     Entered 06/08/16 14:00:08                    Page 12 of 17

Debtor       Superior Lubricants Transport Inc                                      Case number (if known)      16-42146-rfn7

 Part 2:      Additional Page
Copy this page only if more space is needed. Continue numbering the lines sequentially from the
previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.                    Amount of claim

  3.5     Nonpriority creditor's name and mailing address       As of the petition filing date, the claim is:                   $227,132.00
                                                                Check all that apply.
Paccar Financial                                                    Contingent
2951 Braswell                                                       Unliquidated
                                                                    Disputed

                                                                Basis for the claim:
Fort Worth                             TX       76111           judgment

Date or dates debt was incurred                                 Is the claim subject to offset?
                                                                     No
Last 4 digits of account number                                      Yes


  3.6     Nonpriority creditor's name and mailing address       As of the petition filing date, the claim is:                     $6,000.00
                                                                Check all that apply.
The Law Office of Alice Bower                                       Contingent
6421 Camp Bowie Suite 300                                           Unliquidated
                                                                    Disputed

                                                                Basis for the claim:
Fort Worth                             TX       76116           Attorney Fees

Date or dates debt was incurred      06/02/2016                 Is the claim subject to offset?
                                                                     No
Last 4 digits of account number                                      Yes




Official Form 206E/F                        Schedule E/F: Creditors Who Have Unsecured Claims                                          page 3
         Case 16-42146-rfn7 Doc 7 Filed 06/08/16                     Entered 06/08/16 14:00:08              Page 13 of 17

Debtor      Superior Lubricants Transport Inc                                 Case number (if known)      16-42146-rfn7

 Part 4:      Total Amounts of the Priority and Nonpriority Unsecured Claims

5.   Add the amounts of priority and nonpriority unsecured claims.

                                                                                                    Total of claim amounts

5a. Total claims from Part 1                                                              5a.                       $0.00

5b. Total claims from Part 2                                                              5b.   +          $2,379,236.00


5c. Total of Parts 1 and 2                                                                5c.              $2,379,236.00
    Lines 5a + 5b = 5c.




Official Form 206E/F                     Schedule E/F: Creditors Who Have Unsecured Claims                                   page 4
        Case 16-42146-rfn7 Doc 7 Filed 06/08/16                            Entered 06/08/16 14:00:08                    Page 14 of 17


 Fill in this information to identify the case:
 Debtor name         Superior Lubricants Transport Inc

 United States Bankruptcy Court for the: NORTHERN DISTRICT OF TEXAS

 Case number         16-42146-rfn7                            Chapter       7                                      Check if this is an
 (if known)                                                                                                        amended filing


Official Form 206G
Schedule G: Executory Contracts and Unexpired Leases                                                                                             12/15

Be as complete and accurate as possible. If more space is needed, copy and attach the additional page, numbering the entries
consecutively.

1.    Does the debtor have any executory contracts or unexpired leases?
          No. Check this box and file this form with the court with the debtor's other schedules. There is nothing else to report on this form.
          Yes. Fill in all of the information below even if the contracts or leases are listed on Schedule A/B: Assets - Real and Personal Property
          (Official Form 206A/B).

2.    List all contracts and unexpired leases                                           State the name and mailing address for all other
                                                                                        parties with whom the debtor has an executory
                                                                                        contract or unexpired lease

2.1       State what the contract       purchase of debtor. In furtherance of           American Energy Transport LLC
          or lease is for and the       the contract for purchase, debtor               2415 W Northwest Highway
          nature of the debtor's        transferred possession, but not title,
          interest                                                                      #105
                                        to the 6 fuel trailers.
                                        Contract is in DEFAULT
          State the term remaining
                                                                                       Dallas                              TX            75220
          List the contract
          number of any
          government contract




Official Form 206G                          Schedule G: Executory Contracts and Unexpired Leases                                                 page 1
       Case 16-42146-rfn7 Doc 7 Filed 06/08/16                             Entered 06/08/16 14:00:08                    Page 15 of 17


 Fill in this information to identify the case:
 Debtor name         Superior Lubricants Transport Inc

 United States Bankruptcy Court for the: NORTHERN DISTRICT OF TEXAS

 Case number         16-42146-rfn7                                                                                 Check if this is an
 (if known)                                                                                                        amended filing


Official Form 206H
Schedule H: Codebtors                                                                                                                        12/15

Be as complete and accurate as possible. If more space is needed, copy the Additional Page, numbering the entries
consecutively. Attach the Additional Page to this page.


1.   Does the debtor have any codebtors?
         No. Check this box and submit this form to the court with the debtor's other schedules. Nothing else needs to be reported on this form.
         Yes

2.   In Column 1, list as codebtors all of the people or entities who are also liable for any debts listed by the debtor in the
     schedules of creditors, Schedules D-G. Include all guarantors and co-obligors. In Column 2, identify the creditor to whom the debt is
     owed and each schedule on which the creditor is listed. If the codebtor is liable on a debt to more than one creditor, list each creditor
     separately in Column 2.

        Column 1: Codebtor                                                                    Column 2: Creditor

                                                                                                                             Check all schedules
      Name                            Mailing address                                        Name                            that apply:




Official Form 206H                                           Schedule H: Codebtors                                                           page 1
        Case 16-42146-rfn7 Doc 7 Filed 06/08/16                                                        Entered 06/08/16 14:00:08                                      Page 16 of 17


 Fill in this information to identify the case:


 Debtor Name Superior Lubricants Transport Inc

 United States Bankruptcy Court for the:                   NORTHERN DISTRICT OF TEXAS


 Case number (if known): 16-42146-rfn7                                                                                                                                              Check if this is an
                                                                                                                                                                                    amended filing



Official Form 206Sum
Summary of Assets and Liabilities for Non-Individuals                                                                                                                                               12/15



 Part 1:           Summary of Assets

1.   Schedule A/B: Assets--Real and Personal Property (Official Form 206A/B)

     1a. Real property:
                                                                                                                                                                                                 $0.00
         Copy line 88 from Schedule A/B........................................................................................................................................................................

     1b. Total personal property:
                                                                                                                                                                                   $260,000.00
         Copy line 91A from Schedule A/B........................................................................................................................................................................

     1c. Total of all property
                                                                                                                                                                                     $260,000.00
         Copy line 92 from Schedule A/B........................................................................................................................................................................


 Part 2:           Summary of Liabilities

2.   Schedule D: Creditors Who Hold Claims Secured by Property (Official Form 206D)
                                                                                                                                               $880,000.00
     Copy the total dollar amount listed in Column A, Amount of claim, at the bottom of page 1 of Schedule D.........................................

3.   Schedule E/F: Creditors Who Have Unsecured Claims (Official Form 206E/F)

     3a. Total claim amounts of priority unsecured claims:
                                                                                                                                                                                 $0.00
         Copy the total claims from Part 1 from line 5a of Schedule E/F..............................................................................................................................................

     3b. Total amount of claims of non-priority amount of unsecured claims:
                                                                                                                                              + $2,379,236.00
         Copy the total of the amount of claims from Part 2 from line 5b of Schedule E/F...................................................................................................................


4.   Total liabilities
     Lines 2 + 3a + 3b........................................................................................................................................................................ $3,259,236.00




Official Form 206Sum                                         Summary of Assets and Liabilities for Non-Individuals                                                                                  page 1
       Case 16-42146-rfn7 Doc 7 Filed 06/08/16                              Entered 06/08/16 14:00:08                 Page 17 of 17


 Fill in this information to identify the case and this filing:
 Debtor Name         Superior Lubricants Transport Inc

 United States Bankruptcy Court for the: NORTHERN DISTRICT OF TEXAS

 Case number         16-42146-rfn7
 (if known)

Official Form 202
Declaration Under Penalty of Perjury for Non-Individual Debtors                                                                             12/15

An individual who is authorized to act on behalf of a non-individual debtor, such as a corporation or partnership, must sign and
submit this form for the schedules of assets and liabilities, any other document that requires a declaration that is not included
in the document, and any amendments of those documents. This form must state the individual's position or relationship to
the debtor, the identity of the document, and the date. Bankruptcy Rules 1008 and 9011.

WARNING -- Bankruptcy fraud is a serious crime. Making a false statement, concealing property, or obtaining money or
property by fraud in connection with a bankruptcy case can result in fines up to $500,000 or imprisonment for up to 20 years, or
both. 18 U.S.C. §§ 152, 1341, 1519, and 3571.


               Declaration and signature

            I am the president, another officer, or an authorized agent of the corporation; a member or an authorized agent of the partnership;
            or another individual serving as a representative of the debtor in this case.

            I have examined the information in the documents checked below and I have a reasonable belief that the information is true and
            correct:


                 Schedule A/B: Assets--Real and Personal Property (Official Form 206A/B)

                 Schedule D: Creditors Who Have Claims Secured by Property (Official Form 206D)

                 Schedule E/F: Creditors Who Have Unsecured Claims (Official Form 206E/F)

                 Schedule G: Executory Contracts and Unexpired Leases (Official Form 206G)

                 Schedule H: Codebtors (Official Form 206H)

                 A Summary of Assets and Liabilities for Non-Individuals (Official Form 206-Summary)

                 Amended Schedule

                 Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured Claims and Are Not Insiders
                 (Official Form 204)

                 Other document that requires a declaration


            I declare under penalty of perjury that the foregoing is true and correct.

            Executed on 06/08/2016                       X /s/ Bryan Austin
                        MM / DD / YYYY                       Signature of individual signing on behalf of debtor


                                                             Bryan Austin
                                                             Printed name
                                                             President
                                                             Position or relationship to debtor




Official Form B202                     Declaration Under Penalty of Perjury for Non-Individual Debtors
